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 UNITED STATES BANKRUPTCY COURT                                    January 30, 2020
 SOUTHERN DISTRICT OF NEW YORK                                     9:00 AM
 ---------------------------------------------------------x
 IN RE:                                                            Case No. 19-11705-CGM-13

 CHERYL LOUISE WILLIAMS-MURRAY,                                    Hon. CECELIA G. MORRIS

                                                                   NOTICE OF MOTION
                                       Debtor.
 ---------------------------------------------------------x


                   PLEASE TAKE NOTICE, that upon the within application, Krista M. Preuss,
Chapter 13 Trustee, will move this court before the Hon. Cecelia G. Morris, Chief U.S. Bankruptcy
Judge, at the United States Bankruptcy Court, at One Bowling Green, New York, NY 10004-1408,
on the 30th day of January, 2020 at 9:00 AM, or as soon thereafter as counsel can be heard, for
an order pursuant to 11 U.S.C. 1307(c) dismissing this Chapter 13 case and for such other and
further relief as may seem just and proper.


                    Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Krista M. Preuss, Esq., no later than seven (7) days prior to the hearing date
set forth above. Any responsive papers shall be in conformity with the Federal Rules of Civil
Procedure and indicate the entity submitting the response, the nature of the response and the
basis of the response.

Date: White Plains, New York
      December 6, 2019




                                                               s/ Krista M. Preuss
                                                               Krista M. Preuss, Chapter 13 Trustee
                                                               399 Knollwood Road, Ste 102
                                                               White Plains, NY 10603
                                                               (914) 328-6333
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                                                                   kp7299/LE
 UNITED STATES BANKRUPTCY COURT                                    January 30, 2020
 SOUTHERN DISTRICT OF NEW YORK                                     09:00 AM
 ---------------------------------------------------------x
 IN RE:                                                            Case No: 19-11705-CGM-13

 CHERYL LOUISE WILLIAMS-MURRAY,                                    Hon. CECELIA G. MORRIS

                                                                   APPLICATION
                                       Debtor.
 ---------------------------------------------------------x


TO THE HONORABLE CECELIA G. MORRIS, CHIEF U.S. BANKRUPTCY JUDGE:

       KRISTA M. PREUSS, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1.     The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 7 on May 28,
2019, converted to Chapter 13 on July 17, 2019, and, thereafter, KRISTA M. PREUSS was duly
appointed and qualified as Trustee.

      2.       The Debtor has failed to comply with 11 U.S.C. §521(a)(1) and Bankruptcy Rule
1007(b) in that the following required documents have not been filed:

         a. copies of all payment advices or other evidence of payment for last 60 days before the
            date of the filing of the petition by the Debtor from any employer of the Debtor pursuant
            to 11 U.S.C. §521(a)(1)(B)(iv), inclusive of documentation pertaining to social security
            benefit distributions.

         3.        Furthermore, the Debtor has failed to:

         a. re-file a Chapter 13 Plan, as required by 11 U.S.C. §1321 and Fed. R. Bankr. P.
            3015(b), on the correct Chapter 13 Model Plan form;

         b. serve the Plan on the Trustee and all creditors and file the proof of service thereof as
            required by S.D.N.Y. LBR 3015-1(c);

         c. be examined at the §341 Meeting of Creditors as required by 11 U.S.C. §343;

         d. provide the Trustee a copy of a federal and state income tax returns or transcripts for
            the most recent year, specifically 2018, seven days before first meeting of creditors
            pursuant to 11 U.S.C. §521(e)(2)(A)(i);


         e. provide the Trustee with an affidavit of contribution for each person contributing to the
            proposed plan or to payment of expenses of the Debtor’s household;


         f.   The Debtor must amend the Plan to increase plan payments from $23.00 as filed to at
              least $50.00 per month pursuant to 11 U.S.C. §330(c ).
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       4.       The Debtor’s budget, Schedules I and J, indicates a negative disposable income
which clearly demonstrates that the Debtor will not be able to make any Chapter 13 plan payments
as required by 11 U.S.C. §1325(a)(6).

      5.      The deficiencies as stated above impede the Trustee’s ability to administer this
case and, therefore, are defaults that are prejudicial to the rights of the creditors of the Debtor
pursuant to 11 U.S.C. §1307(c)(1).

      6.      The foregoing constitutes cause to dismiss this Chapter 13 case within the
meaning of 11 U.S.C. §1307(c) as the Court’s extension deadline for filing all documents expired
December 6, 2019.

       7.     It should be noted that the Debtor has filed prior petitions with this Court: Case
No. 00-40320, filed February 8, 2000 with joint debtor Michael e Murray, and discharged in a
Chapter 7 on August 8, 2000.

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order dismissing this Chapter 13 case and for such other and further relief as may seem just and
proper.

Dated: White Plains, New York
       December 6, 2019
                                                            /s/ Krista M. Preuss
                                                            Krista M. Preuss, Chapter 13 Trustee
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x           Case No: 19-11705-CGM-13
IN RE:

 CHERYL LOUISE WILLIAMS-MURRAY,
                                                                      CERTIFICATE OF SERVICE
                                                                           BY MAIL
                                      Debtor.
----------------------------------------------------------x
                    This is to certify that I, Lois Rosemarie Esposito, have this day served a true,
accurate and correct copy of the within Notice of Motion and Application by depositing a true copy
thereof enclosed in a post-paid wrapper, in an official depository under the exclusive care and
custody of the U.S. Postal Service within New York State, addressed to each of the following
persons at the last known address set forth after each name:

Cheryl Louise Williams-Murray
675 Walton Avenue # 2-B
Bronx, New York 10451

675 Walton Avenue Inc.
c/o Greenthal Property Management
551 Fifth Avenue # 500
New York, New York 10176

Apple Bank
44 East 161st Street
Bronx, New York 10451


This December 6, 2019
/s/ Lois Rosemarie Esposito
Lois Rosemarie Esposito, Paralegal
Office of the Standing Chapter 13 Trustee
Krista M. Preuss, Esq.
399 Knollwood Road, Suite 102
White Plains, NY 10603
(914) 328-6333
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CASE NO: 19-11705-CGM-13
Hon. CECELIA G. MORRIS

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE:

CHERYL LOUISE WILLIAMS-MURRAY,

                        Debtor.



         NOTICE OF MOTION, APPLICATION, AND CERTIFICATE OF SERVICE




                                 KRISTA M. PREUSS
                           STANDING CHAPTER 13 TRUSTEE
                          399 KNOLLWOOD ROAD, SUITE 102
                           WHITE PLAINS, NEW YORK 10603
                                   (914) 328-6333
